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 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,
                                                            NO. CR. S-07-00229 KJM
11                    Plaintiff,
12           v.                                             TRIAL CONFIRMATION ORDER
13 RONALD W. GROVES, and
     DONALD C. MANN,
14
                      Defendants.
15
     ____________________________________/
16
17           The trial in the above -captioned case, scheduled to commence on May 24, 2011, at 9:00
18 a.m., was confirmed at the hearing held on April 28, 2011. In preparation for the upcoming trial,
19 the Court hereby ORDERS:
20           I.       TRIAL BRIEFS AND STATEMENT OF THE CASE
21           No later than May 16, 2011, the parties shall file a trial brief and a statement of the case
22 with the court. In their trial briefs, the parties shall include a summary of points of law,
23 including reasonably anticipated disputes concerning admissibility of evidence, legal arguments,
24 any other information the parties believe is relevant, and citations of authority in support thereof.
25 In lieu of a statement of the case, the parties may file a joint proposed jury instruction that can be
26 read to the jury in advance of voir dire that explains the nature of the case.
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28 /////
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 1           II.      PROPOSED JURY INSTRUCTIONS
 2           Counsel are informed that the court has prepared a standard set of standard jury
 3 instructions. In general, they cover all aspects of the trial except those relating to the charges
 4 contained in the charging document. Accordingly, counsel need not prepare instructions
 5 concerning matters within the scope of the prepared instructions. A copy of the prepared
 6 instructions will be provided to the parties by the courtroom deputy concurrently with the
 7 issuance of this order. Counsel are further directed that additional jury instructions they propose
 8 shall be filed no later than May 16, 2011. As to any instructions counsel desire to offer, the
 9 proposing party shall also submit a sanitized copy in either WordPerfect (strongly preferred) or
10 Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
11           III.     PROPOSED VOIR DIRE QUESTIONS AND VERDICT FORM
12           The parties may file proposed voir dire questions no later than May 16, 2011. In
13 addition, the Government shall file a proposed verdict form. Any proposed voir dire questions
14 and the proposed verdict form shall also be submitted in either WordPerfect (strongly preferred)
15 or Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
16           IV.      MOTIONS IN LIMINE
17           The parties shall file with the court motions in limine or notices of intent to renew
18 previously filed motions, if any, no later than May 9, 2011.1 Each motion shall contain a plain,
19 concise summary of any reasonably anticipated disputes concerning admissibility of evidence,
20 including but not limited to live and deposition testimony, physical and demonstrative evidence
21 and the use of special technology at trial, including computer animation, video discs, and other
22 high technology. Any opposition briefs to the motions in limine shall be filed no later than May
23 16, 2011. The motions in limine shall be heard on May 19, 2011 at 10:00 a.m.
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                 The parties are required to meet and confer about such disputes before filing a motion
28 to determine if agreement can be reached.

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 1          V.      EXHIBIT LIST AND WITNESS LIST
 2          The government shall, and the defendant may, file exhibit and witness lists no later than
 3 May 16, 2011. The exhibit list shall also be submitted in either WordPerfect (strongly preferred)
 4 or Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
 5          All exhibits shall be pre-marked with exhibit stickers provided by the court. The
 6 government’s exhibits shall be numbered. Should the defendant elect to introduce exhibits at
 7 trial, such exhibits shall be designated by alphabetical letter. The parties may obtain exhibit
 8 stickers by contacting the clerk’s office at (916) 930-4000.
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10 DATED: April 29, 2011.
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13                                               UNITED STATES DISTRICT JUDGE
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